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ATTORNEYS AT LAW
1225 NORTH KING STREET
SUITE 1000
P.O. BOX 397
WILMINGTON, DE 19899
(302) 655-6749
FAX: (302) 655-6827
www.bodellbove.com
BRUCE W. McCULLOUGH
DIRECT DIAL: (302) 655-6749 ext. 1
EMAIL: bmccullough@bodellbove.com


                                                          September 23, 2020

VIA CM/ECF
The Honorable Laurie Selber Silverstein
United States Bankruptcy Judge
United States Bankruptcy Court for the District of Delaware
824 North Market Street, 6th Floor
Wilmington, Delaware 19801

        Re:     In re Boy Scouts of America and Delaware BSA, LLC, Case No. 20-10343 –
                Joinder by Agricultural Insurance Company to Century’s September 15, 2020 Letter
                Submitted to the Court

Dear Judge Silverstein:

        Agricultural Insurance Company, by and through undersigned counsel, respectfully submits the
following letter joining in support of Century’s1 September 15, 2020 letter submitted to the Court regarding
the Proposed Order on Motion for an Order Authorizing the Coalition to File Under Seal Exhibit A to Its
Amended 2019 Statement [D.I. Nos. 1320, 1320-1, 1320-2].

        On September 2, 2020, Agricultural joined in Century’s and Hartford’s Motion to Compel the
Attorneys Representing the Entity Calling Itself the “Coalition” to Submit the Disclosures Required by
Federal Rule of Bankruptcy Procedure 2019 [D.I. No. 1164 (Motion to Compel), 1218 (Agricultural’s
Joinder)]. At the September 9, 2020 omnibus hearing, Agricultural further requested that the Coalition
provide the Rule 2019 documents that it proposes to file under seal to Agricultural, joining in requests from
the US Trustee, Century, Hartford and Allianz.

        For the reasons stated in Century’s September 15, 2020 letter, Agricultural respectfully
joins in requesting that the Court enter the form of order submitted by Century, attached as Exhibit
1 (redline against the form of order submitted by the Coalition) and Exhibit 2 (clean copy) to its

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        Century refers to Century Indemnity Company, as successor to CCI Insurance Company, as
        successor to Insurance Company of North America and Indemnity Insurance Company of North
        America, Westchester Fire Insurance Company and Westchester Surplus Lines Insurance
        Company.



              CHERRY HILL, NJ      PHILADELPHIA, PA       OAK BROOK, IL       WILMINGTON, DE
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letter submission. Agricultural hereby reiterates its request that the Coalition provide it with the
Rule 2019 documents that it proposes to file under seal.

                                                                       Respectfully yours,
                                                                       /s/ Bruce W. McCullough
                                                                       Bruce W. McCullough (Del. ID 3112)

                                                                       Clyde & Co US LLP
                                                                       Bruce D. Celebrezze
                                                                       Taylor Meehan
                                                                       Admitted Pro Hac Vice

BWMcC:spd
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